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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF LOUISIANA
                                    LAFAYETTE DIVISION

       THE STATE OF ARIZONA,
       By and through its Attorney General, Mark
       Brnovich, et al.,

                                            PLAINTIFFS,

       v.                                                   CIVIL ACTION NO. 6:22-CV-885-RRS-CBW

       CENTERS FOR DISEASE CONTROL &
       PREVENTION; et al.,

                                          DEFENDANTS.


                             DECLARATION OF ATTORNEY JOSEPH SCOTT ST. JOHN

             I, Joseph Scott St. John, declare and state as follows:

             1.      I am a Deputy Solicitor General employed by the Louisiana Department of Justice. I

   represent the State of Louisiana in connection with the above-captioned matter. I have personal

   knowledge of the facts stated herein.

             2.      On April 20, 2022, a major media outlet reported that the Department of Homeland

   Security and its subagencies are partially implementing the Title 42 Termination Order. Specifically,

   Fox News reported that “Border Patrol is not using the Title 42 public health order to remove many

   migrants from the Northern Triangle countries of Guatemala, Honduras and El Salvador, more than

   a month before the Biden administration lifts the order altogether,” according to “multiple Border

   Patrol sources.”1 Thus, while Title 42 may “technically still in place,” the reality on the ground is that

   DHS “has largely stopped using Title 42 to remove migrants from Northern Triangle countries, and




   1
    Bill Melugin, Fox News, Border Patrol not using Title 42 to expel some Northern Triangle migrants ahead of its
   May 23 end: sources(Apr. 20, 2022), https://fxn.ws/3K4YMxs.
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   is instead processing them via Title 8 and expedited removal.”2 The report identified National Border

   Patrol Council President Brandon Judd as one of its sources. A true and accurate copy of this report

   is attached hereto as Exhibit A.

            3.    The author of that report -- Bill Melugin -- elsewhere stated that “[t]he president of

   the Border Patrol union tells me BP has already stopped enforcing Title 42 on migrants from Northern

   Triangle countries (Honduras, Guatemala, El Salvador) and is instead processing them via Title

   8/expedited removal, but if they claim fear, released w/ NTA.”3 He elaborated that “[a]gents in the

   field have been telling me the same, they’ve been told to no longer enforce Title 42 on Northern

   Triangle countries even though the May 23rd repeal date is still over a month away.”4 A true and

   accurate copy of those statements is attached hereto as Exhibit B.

            4.    True and accurate copies of statements on the @BPUnion Twitter account appear

   below:




   2
      Id.
   3
     https://twitter.com/BillFOXLA/status/1516773840604606482
   4
     Id.
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          5.      In response to these reports, I obtained contact information for Brandon Judd from

   a former government official, and I spoke with Mr. Judd via telephone. Mr. Judd informed me that he

   had, in fact, provided statements to reporter Bill Melugin. Mr. Judd confirmed that the @BPUnion

   Twitter account belongs to the Border Patrol Union and that statements on that account were

   accurate.

          6.      Mr. Judd informed me that under the Title 42 Order, DHS historically expelled illegal

   aliens from Northern Triangle countries to their home countries via air or – when those flights are

   full – expelled the illegal aliens to Mexico. DHS’s new practice is that when ICE flights are full, the

   excess illegal aliens are processed under Title 8, which frequently results in the aliens being released

   into the United States.
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          7.      Mr. Judd further informed me that DHS’s new practice has resulted in a “huge backlog

   in processing time and holding time” and thereby resulted in “pulling more agents out of the field”

   “to perform detention security.”

          8.      On April 20, 2022, and April 21, 2022, counsel for Arizona corresponded with counsel

   for Defendants regarding a temporary restraining order. A true and accurate copy of that

   correspondence is attached as Exhibit C.

          9.      On April 21, 2022, counsel for Arizona, Louisiana, and Missouri had a telephonic

   meet-and-confer with counsel for Defendants (“USDOJ”). USDOJ confirmed that DHS was already

   shifting to Title 8 removals in advance of the May 23 date recited in the Title 42 Termination Order.

   USDOJ was able to provide statistics regarding the number of illegal aliens removed to their home

   countries via air under Title 42, removed via expulsion to Mexico under Title 42, removed under Title

   8, detained under Title 8, and released into the United States under Title 8. However, given the limited

   time available to collect that information, USDOJ expressed uncertainty as to the statistics they

   provided and asked that Plaintiffs “not quote” those statistics. USDOJ confirmed, however, that the

   number of relevant aliens has increased in the last month.

          10.     Further declarant sayeth naught.

   I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE STATE OF
   LOUISIANA AND UNDER THE LAWS OF THE UNITED STATES OF AMERICA THAT
   THE FOREGOING IS TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE.

   Executed in New Orleans, Louisiana, this 21st day of April, 2022.

                                                  /s/ Joseph Scott St. John
                                                  ______________________
                                                  Joseph Scott St. John
                                                  Deputy Solicitor General
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